







		NO. 12-08-00469-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



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IN RE: FORT DEARBORN LIFE 

INSURANCE COMPANY, §
	ORIGINAL PROCEEDING

RELATOR

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MEMORANDUM OPINION


	Relator, Fort Dearborn Life Insurance Company, seeks a writ of mandamus compelling the 
respondent to vacate his order denying Relator's plea to the jurisdiction and issue an order granting
the plea and dismissing the lawsuit filed by Stacy McDonald, the real party in interest. (1) 
Alternatively, Relator requests that the respondent be directed to vacate his order denying Relator's
motion to transfer venue and issue an order transferring the underlying lawsuit to Travis County.  

	Texas Government Code, section 22.221(b) authorizes courts of appeals to issue writs of
mandamus.  See Tex. Gov't Code Ann. §&nbsp;22.221(a) (Vernon 2004).  However, the statute expressly
limits this jurisdiction to issuing writs against a judge of a district or county court in the court of
appeals district.  Id. § 22.221(b)(1).  It does not authorize a court of appeals to issue writs of
mandamus against a justice of the peace.  See id.; see also Easton v. Franks, 842 S.W.2d 772, 773
(Tex. App.--Houston [1st Dist.] 1992, orig. proceeding).  Accordingly, the petition is dismissed for
want of jurisdiction.

								     BRIAN HOYLE    

									  Justice

Opinion delivered December 3, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

										

(PUBLISH)
1.  The respondent is the Honorable Carl Davis, Justice of the Peace, Precinct 2, Place 1, Anderson County,
Texas.


